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                   12
                                                       UNITED STATES DISTRICT COURT
                   13
                                                  NORTHERN DISTRICT OF CALIFORNIA
                   14
                                                          SAN FRANCISCO DIVISION
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                        ANDREA BARTZ, CHARLES GRAEBER,                 Case No. 3:24-cv-05417-WHA
                   17   and KIRK WALLACE JOHNSON,
                                                                       Action Filed: August 19, 2024
                   18                    Plaintiffs,
                                                                       DEFENDANT ANTHROPIC PBC’S MOTION
                   19          v.                                      FOR AN ORDER PERMITTING
                                                                       INTERLOCUTORY APPEAL PURSUANT TO
                   20   ANTHROPIC PBC,                                 28 U.S.C. § 1292(B) OR, IN THE
                                                                       ALTERNATIVE, MOTION FOR LEAVE TO
                   21                    Defendant.                    FILE MOTION FOR RECONSIDERATION

                   22                                                  Hearing Date: August 28, 2025
                                                                       Hearing Time: 8:00 a.m.
                   23                                                  Judge: Honorable William H. Alsup

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                    1                               NOTICE OF MOTION AND MOTION

                    2          TO ALL PARTIES AND THEIR ATTORNEYS OF RECORD: PLEASE TAKE

                    3   NOTICE THAT, on August 28, 2025, at 8:00 a.m., or as soon thereafter as may be heard,

                    4   Defendant Anthropic PBC (“Anthropic”) will and hereby does move this Court (1) for an order

                    5   certifying this Court’s June 23, 2025 order denying in part Anthropic’s motion for summary

                    6   judgment (ECF No. 231, or the “Order”) for interlocutory appeal pursuant to 28 U.S.C. § 1292(b),

                    7   or (2) in the alternative, pursuant to Federal Rule of Civil Procedure 54(b) and Northern District of

                    8   California Civil Local Rule 7-9, for leave to file a motion for reconsideration. This motion is based

                    9   on this Notice of Motion and Motion, Memorandum of Points and Authorities, the papers on file

                   10   in this action, and such other and further evidence or argument that the Court may consider.

                   11              STATEMENT OF RELIEF SOUGHT AND ISSUES TO BE DECIDED

                   12          Anthropic requests that the Court certify the Order for interlocutory appeal pursuant to 28

                   13   U.S.C. § 1292(b). Alternatively, Anthropic seeks leave to file a motion for reconsideration of the

                   14   Order, for the reasons set forth below.

                   15                       MEMORANDUM OF POINTS AND AUTHORITIES

                   16   I.     INTRODUCTION

                   17          The Court should certify its Order for interlocutory appeal under 28 U.S.C. § 1292(b). The

                   18   Order addresses novel and consequential legal questions about the proper fair-use standard in the

                   19   context of copyright-infringement challenges to groundbreaking generative artificial intelligence

                   20   (“AI”) technology. Courts in this District have already diverged on those questions, and the

                   21   answers to them will have significant implications for this case and the many other pending cases

                   22   involving copyright challenges to large language models (“LLMs”). See, e.g., Denial et al. v.

                   23   OpenAI, Inc. et al., No. 25-cv-05495 (N.D. Cal. June 30, 2025); Bird v. Microsoft Corp., No. 25-

                   24   cv-05282, (S.D.N.Y. June 24, 2025); In re Mosaic LLM Litig., No. 24-cv-01451 (N.D. Cal. Mar. 8,

                   25   2024); Nazemian v. NVIDIA Corp., No. 24-cv-01454 (N.D. Cal. Mar. 8, 2024); Authors Guild v.

                   26   OpenAI Inc., No. 23-cv-08292 (S.D.N.Y. Sept. 19, 2023), MDL No. 3143; In re Google Generative

                   27   AI Copyright Litig., No. 23-cv-03440 (N.D. Cal. July 11, 2023); Kadrey v. Meta Platforms, Inc.,

                   28   No. 23-cv-03417, (N.D. Cal. July 7, 2023); Tremblay v. OpenAI, Inc., No. 25-cv-03482 (S.D.N.Y.
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                    1   June 28, 2023), MDL No. 3143.

                    2          In particular, the Order raises two “controlling question[s] of law as to which there is

                    3   substantial ground for difference of opinion” and for which “an immediate appeal . . . may

                    4   materially advance the ultimate termination of the litigation.” 28 U.S.C. § 1292(b). First, the Order

                    5   presents the question whether fair use is analyzed based on the defendant’s ultimate purpose in

                    6   copying a copyrighted work or instead may be parsed into separately analyzed constituent steps.

                    7   This Court sought to deconstruct Anthropic’s conduct into separate constituent “uses,” including

                    8   by asking whether Anthropic “immediately” transformed the copyrighted works and “immediately”

                    9   deleted them. Order at 21. The Court then concluded that a supposed preliminary step—

                   10   downloading books from “pirate” websites to be retained in a general-purpose library—was not

                   11   compatible with a fair use of those books to train an LLM. Id. at 1, 9. But just two days later,

                   12   Judge Chhabria adopted the opposite approach in a very similar case, viewing Meta’s downloading

                   13   of books in light of Meta’s ultimate objective of LLM development, and deeming that copying fair

                   14   use. See Kadrey v. Meta Platforms, Inc., No. 23-cv-03417 (N.D. Cal. June 25, 2025), ECF No. 598

                   15   (“Kadrey Op.”). Resolving this dispute over the proper mode of analysis is critically important to

                   16   the outcome of this and the many other pending copyright challenges to LLMs. This Court should

                   17   obtain guidance from the Ninth Circuit on the issue now instead of holding a trial that may need to

                   18   be redone under a different legal framework—or may not be necessary at all.

                   19          Second, the Order raises a question about the significance of a defendant’s initial acquisition

                   20   of a copyrighted work from an unauthorized source—here, “pirate sites.” Order at 18. This Court

                   21   expressed its “doubts that any accused infringer could ever meet its burden of explaining why

                   22   downloading source copies from pirate sites that it could have purchased or otherwise accessed

                   23   lawfully was itself reasonably necessary to any subsequent fair use.” Id. (emphasis in original). By

                   24   contrast, Judge Chhabria concluded that Meta’s unauthorized downloading of “books from shadow

                   25   libraries”—including, again, some of the same Internet sources that Anthropic drew from—did not

                   26   undermine Meta’s fair use defense because “the whole point of fair use analysis is to determine

                   27   whether a given act of copying was unlawful.” Kadrey Op. at 19; see id. at 10-11. Those diverging

                   28   views have profound implications for this case and others like it because most if not all of the
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                    1   leading AI companies developing LLMs are accused of engaging in the same downloading of books

                    2   from unauthorized online sources. See, e.g., Defs.’ Mot. for Partial Summ. J. at 6, 8, Kadrey v.

                    3   Meta Platforms, Inc., No. 23-cv-03417 (N.D. Cal. Mar. 24, 2025), ECF No. 489 (explaining that

                    4   Meta used “Books3” and “LibGen” as datasets for training its models); Consolidated Class Action

                    5   Compl. ¶ 119, Authors Guild v. OpenAI Inc., No. 23-cv-08292 (S.D.N.Y. June 13, 2025), ECF No.

                    6   456 (alleging that OpenAI used “books downloaded from LibGen to train its models”). It is

                    7   important that the Ninth Circuit resolve this disagreement now so that the correct legal framework

                    8   governs pending and future copyright challenges to generative AI technology.

                    9          Alternatively, if this Court does not certify its Order for interlocutory appeal, it should grant

                   10   Anthropic leave to move for reconsideration of the Order. The Order should be reconsidered

                   11   because it overlooks that, even taking the record facts in the light most favorable to Plaintiffs, there

                   12   is no evidence that Anthropic acquired books “to create a central, general-purpose library” separate

                   13   from the use of those books for LLM training. Order at 19. Plaintiffs never asserted any “general-

                   14   purpose library” theory, so Anthropic had no opportunity to respond to it. The Court should give

                   15   Anthropic that opportunity now. And in this rapidly evolving area of law, the conflicting opinion

                   16   in Kadrey, although not binding on this Court, also provides an independent basis for

                   17   reconsideration.

                   18   II.    BACKGROUND
                   19          A.        Factual Background
                   20          Anthropic is an AI company that develops LLMs, and its product is called Claude. ECF

                   21   No. 119-5 (“Kaplan Decl.”) ¶ 6. LLMs are text-based generative AI models trained on extremely

                   22   large volumes of data to develop a functional understanding of how language works, so that they

                   23   can generate completely new text. Id.; see Order at 26. Claude is a versatile LLM that assists with

                   24   various tasks, including writing computer code, drafting professional emails, and analyzing

                   25   business data.     Kaplan Decl. ¶¶ 20-22.      Developing LLMs like Claude requires an almost

                   26   unimaginably voluminous and diverse set of data, which allows LLMs to generalize beyond

                   27   specific inputs and produce creative and useful outputs. Id. ¶¶ 38, 40. Indeed, many trillions of

                   28   words were required to train Claude, and that scale is a technological necessity. Id. ¶ 39; see Order
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                    1   at 26. Thus, developing LLMs is why Anthropic collected an astronomical body of data composed

                    2   of a wide variety of source materials, from the Internet, to computer code, to books. Kaplan Decl.

                    3   ¶¶ 45-53. And in 2021, when Anthropic first started developing LLMs, it downloaded certain

                    4   books datasets, such as “Books3” and “LibGen,” that were available only on the Internet. Id. ¶¶

                    5   48-50. Nothing in the record suggests that the Internet sources that offered the books datasets

                    6   profited from Anthropic’s downloading.

                    7           Anthropic starts the process of LLM development by building a computational model

                    8   capable of learning patterns in language and concepts from enormous data sets. Id. ¶ 35. Anthropic

                    9   then processes the massive amounts of data that it has obtained by deduplicating portions that

                   10   appear repeatedly, converting the remaining characters to tokens, and translating the tokens into

                   11   “vectors,” or mathematical representations of how words relate to other words. See id. ¶¶ 54-59.

                   12   Anthropic also assesses the quality and utility of datasets to ensure that they are suitable for training.

                   13   Claude then trains on the translated data by adjusting the model’s weights and biases based on

                   14   vector inputs as it learns more about how humans use words and concepts in writing. Id.

                   15           B.      Procedural Background
                   16           Plaintiffs filed this putative class action in August 2024, alleging that Anthropic infringed

                   17   their copyrights by using their books in the training corpus for Claude. ECF No. 1 (Compl.) ¶¶ 68-

                   18   74; see ECF No. 70 (FAC) ¶¶ 72-78. This case was one of many recent putative copyright class

                   19   actions filed by authors against major AI companies, including OpenAI, Meta, Microsoft, and

                   20   others. See supra at 3 (citing cases). Anthropic moved for summary judgment on the ground that

                   21   its use of Plaintiffs’ works was fair under Section 107 of the Copyright Act, 17 U.S.C. § 107. ECF

                   22   No. 119-7.

                   23           The record before the Court at summary judgment was that Anthropic used Plaintiffs’

                   24   books—among millions of other works—to create training data for its LLMs, including Claude.

                   25   Id. at 2-10. Anthropic argued that its use of Plaintiffs’ books was fair because it was profoundly

                   26   transformative, id. at 11-16, and because Claude never produced copies of Plaintiffs’ books as an

                   27   output, id. at 7. Plaintiffs’ Opposition agreed that Anthropic downloaded the books at issue in order

                   28   “to train its large language models” and never claimed that Anthropic used the downloaded books
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                    1    to build a “library.” ECF No. 157-2 (“MSJ Opp.”) at 1. Plaintiffs nonetheless contended that

                    2    Anthropic’s downloading of Plaintiffs’ books from unauthorized Internet sources was “a standalone

                    3    act of infringement,” notwithstanding Anthropic’s transformative use of those books. Id. at 6.

                    4    Plaintiffs did not argue that Anthropic downloaded and stored books for any purpose other than

                    5    training its LLMs. See id. To the contrary, Plaintiffs contended that, “like most technology

                    6    companies, Anthropic’s ‘research’ [on training LLMs] drove its commercial development” and

                    7    “commercially released Claude model.” Id. at 15 n.8.

                    8           On June 23, 2025, the Court issued an order granting in part and denying in part Anthropic’s

                    9    summary-judgment motion. The Court found that the copies of Plaintiffs’ works “used to train

                   10    specific LLMs were justified as a fair use” because “[t]he technology at issue was among the most

                   11    transformative many of us will see in our lifetimes.” Order at 30 (emphasis omitted). The Court

                   12    explained that “using copyrighted works to train LLMs” generates “new text” that is

                   13    “quintessentially transformative” and “different” from the original. Id. at 13-14. And the Court

                   14    further determined that the majority of the other fair use factors likewise favored finding that

                   15    Anthropic had fairly used Plaintiffs’ works to train LLMs. Id. at 30.

                   16           But the Court also concluded that the record, taken in the light most favorable to Plaintiffs,

                   17    indicated that Anthropic may have used Plaintiffs’ works for another purpose, distinct from LLM

                   18    training—namely, “creat[ing] a central, general-purpose library.” Id. at 19. Because Plaintiffs had

                   19    not asserted any such “library” use, the theory that Anthropic stored the books data it downloaded

                   20    from the Internet in a “library” never arose during the summary judgment proceedings.

                   21    Accordingly, Anthropic never had the opportunity to rebut the theory.

                   22           Nonetheless, the Court proceeded to analyze Anthropic’s supposed “retain[ing]” of “copies

                   23    in its central library” as an independent “use” subject to a separate fair-use analysis. Id. at 14. The

                   24    Court rejected Anthropic’s argument that it should “look[] only at the ‘ultimate use’” of the copies

                   25    rather than “a series of atomized acts of ‘infringement’ distinct from that overall purpose.’” Id. at

                   26    22 (citation omitted). The Court thus parsed what it viewed as several discrete steps of Anthropic’s

                   27    conduct: “download[ing] over seven million pirated copies of books”; “retain[ing] pirated copies

                   28    even after deciding it would not use them or copies from them for training its LLMs ever again”;
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                    1    and then assembling “a central library of all the books in the world,” which could be “available for

                    2    any number of further uses.” Id. at 18-19. The Court also emphasized that the downloaded copies

                    3    were stored, rather than “immediately transformed” and “immediately deleted.” Id. at 21. The

                    4    Court therefore concluded that the parties would “have a trial on the pirated copies used to create

                    5    Anthropic’s central library.” Id. at 31.

                    6           C.      Kadrey Order
                    7           Two days after this Court’s Order, Judge Chhabria issued an order in Kadrey v. Meta

                    8    Platforms, Inc., granting Meta’s cross-motion for partial summary judgment and denying plaintiffs’

                    9    cross-motion for partial summary judgment. As here, Kadrey concerned whether the training of a

                   10    generative AI model constituted fair use. Kadrey Op. at 1. And as here, the court in Kadrey

                   11    confronted whether fair use protects companies that “feed copyright-protected materials into their

                   12    models—without getting permission from the copyright holders or paying them for the right to use

                   13    their works for this purpose.” Id. Indeed, Meta had downloaded some of the same book datasets

                   14    from some of the same so-called “shadow libraries” as Anthropic, including “Books3” and

                   15    “LibGen.” Id. at 10-11. Yet unlike the Court here, Judge Chhabria found that fair use doctrine

                   16    protected Meta from liability for infringement. Id. at 40.

                   17           Judge Chhabria’s analysis diverged from this Court’s in two respects pertinent to this

                   18    Motion. First, Judge Chhabria concluded that Meta’s conduct must “be considered in light of its

                   19    ultimate, highly transformative purpose: training Llama,” Meta’s LLM. Id. at 21. He therefore

                   20    rejected the plaintiffs’ contention that “Meta’s downloading of the plaintiffs’ books” from

                   21    unauthorized sources “must be considered wholly separately from” Meta’s “use of the books to

                   22    train Llama.” Id. And he emphasized that even if “only some of [Meta’s] copies were used for

                   23    LLM training,” they all “had the ultimate purpose of LLM training,” including the copies made to

                   24    “see whether the books in the database made for good training data.” Id. at 21-22 (emphasis added).

                   25           Second, Judge Chhabria concluded that Meta’s “download[ing] the books from shadow

                   26    libraries” rather than “start[ing] with an ‘authorized copy’ of each book” did not “give[] [the

                   27    plaintiffs] an automatic win.” Kadrey Op. at 19. He explained that “[t]o say that Meta’s

                   28    downloading was ‘piracy’ and thus cannot be fair use begs the question because the whole point of
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                    1    fair use analysis is to determine whether a given act of copying was unlawful.” Id. His reasoning

                    2    therefore diverges from this Court’s suggestion that even a highly transformative “ultimate use”

                    3    may not adequately justify initial unauthorized copying. Kadrey Op. at 21 (disagreeing with page

                    4    18 of this Court’s Order).

                    5    III.   THE COURT SHOULD CERTIFY THE ORDER FOR INTERLOCUTORY
                                APPEAL BECAUSE IT PRESENTS NOVEL QUESTIONS ABOUT FAIR USE
                    6

                    7           Anthropic requests that the Court certify its Order for interlocutory appeal under 28 U.S.C.

                    8    § 1292(b). Section 1292(b) allows a non-final order to be certified for interlocutory appeal when

                    9    it “involves a controlling question of law as to which there is substantial ground for difference of

                   10    opinion” and when “an immediate appeal from the order may materially advance the ultimate

                   11    termination of the litigation.” Id. The Ninth Circuit employs a “flexible approach” under Section

                   12    1292(b) to avoid “undesirable consequences,” such as “unnecessary, protracted litigation and a

                   13    considerable waste of judicial resources.” Reese v. BP Exploration (Alaska) Inc., 643 F.3d 681,

                   14    688 n.5 (9th Cir. 2011). This Court has certified questions under Section 1292(b) to prevent “vast

                   15    amount[s] of resources” from “being consumed” before the legal “ground rules” are established.

                   16    Sonos, Inc. v. Google LLC, 591 F. Supp. 3d 638, 649 (N.D. Cal. 2022) (Alsup, J.).

                   17           This case presents a novel and important legal issue dividing the courts: the standard for

                   18    assessing whether the use of copyrighted works, obtained as large datasets from specific sources

                   19    on the Internet, to train generative AI tools is fair use under the Copyright Act. Two specific

                   20    questions of law warrant immediate appellate review. The first is whether fair use is analyzed

                   21    based on the defendant’s ultimate purpose in using a copyrighted work or instead parsed into

                   22    separately analyzed constituent steps. Because this Court engaged in such parsing, it treated

                   23    Anthropic’s downloading, storage, and retention of books datasets as isolated acts, and emphasized

                   24    that Anthropic did not immediately transform the datasets or immediately delete them. But none

                   25    of those issues would have mattered if the Court had focused only on Anthropic’s ultimate use—

                   26    LLM training. Under that approach, Anthropic’s actions would be recognized as interconnected

                   27    parts of a single transformative use.

                   28           The second controlling question of law is whether a defendant’s acquisition of a copyrighted
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                    1    work from a third party that distributed it without permission strongly weighs against the

                    2    availability of the fair use defense even if the use is otherwise fair. This Court’s denial of summary

                    3    judgment on that basis lacks doctrinal support because the entire premise of fair use is that the

                    4    particular acts of copying at issue were unauthorized, yet nonetheless fair. Nor is there any

                    5    principle that a third party’s unauthorized copying and distribution—in which the defendant played

                    6    no part—should taint the defendant’s subsequent transformative use.

                    7           This Court has previously certified similarly novel legal questions of nationwide

                    8    significance. See, e.g., Sonos, 591 F. Supp. 3d at 649; Regents of the Univ. of Cal. v. DHS, 279 F.

                    9    Supp. 3d 1011, 1049 (N.D. Cal. 2018) (Alsup, J.). And courts have specifically permitted Section

                   10    1292(b) interlocutory appeals following the resolution of an important fair use issue, including in

                   11    one of the principal decisions upon which this Court’s Order relied. See Am. Geophysical Union

                   12    v. Texaco Inc., 60 F.3d 913, 915 (2d Cir. 1994); see also Thomson Reuters Enter. Centre GmbH v.

                   13    ROSS Intel. Inc., 20-cv-00613 (D. Del. May 23, 2025), ECF No. 804; Lenz v. Universal Music

                   14    Corp., 815 F.3d 1145, 1150 (9th Cir. 2016). Interlocutory review is likewise warranted here.

                   15           A.      Interlocutory Review Is Warranted to Determine Whether Fair Use Is
                                        Analyzed by Reference to the Defendant’s Ultimate Use of a Copyrighted Work
                   16                   or by Parsing the Defendant’s Use into Subsidiary Steps
                   17           The first controlling question of law justifying interlocutory review is whether courts should

                   18    analyze fair use by reference to the defendant’s ultimate purpose in using a copyrighted work or

                   19    instead by parsing the defendant’s use into subsidiary steps. That legal question is important and

                   20    novel, has divided courts in this District, and materially affects the outcome of this case.

                   21           Controlling question of law: This Court’s Order presents “question[s] of law.” 28 U.S.C.

                   22    § 1292(b). Because “[f]air use is a mixed question of law and fact,” Harper & Row Publishers,

                   23    Inc. v. Nation Enters., 471 U.S. 539, 560 (1985), courts aim to “break” the “question into its

                   24    separate factual and legal parts,” Google LLC v. Oracle Am., Inc., 591 U.S. 1, 24 (2021). The

                   25    question here—whether to analyze the defendant’s ultimate purpose or instead seek to assess each

                   26    subsidiary step—is a “legal part[]” of the fair-use inquiry. Id. That is so because answering the

                   27    question requires the court “to expound on the law” and “elaborat[e] on [the] broad” fair use “legal

                   28    standard.” U.S. Bank Nat’l Ass’n v. Vill. at Lakeridge, LLC, 583 U.S. 387, 396 (2018).
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                    1           That legal question is also “controlling.” 28 U.S.C. § 1292(b). A question is controlling

                    2    when its resolution “on appeal could materially affect the outcome of the litigation in the district

                    3    court,” In re Cement Antitrust Litig., 673 F.2d 1020, 1026 (9th Cir. 1981), even if it will not

                    4    necessarily “determine[] who will win on the merits,” Kuehner v. Dickinson & Co., 84 F.3d 316,

                    5    319 (9th Cir. 1996). Here, the Court analyzed Anthropic’s conduct as multiple subsidiary steps,

                    6    rather than focusing on Anthropic’s ultimate purpose of using the works to develop its LLMs. See

                    7    Order at 22. The Court therefore parsed what it viewed as distinct acts: Anthropic’s initial copying

                    8    of works from online “pirate” websites; its supposed storage of books in a “central library”; its

                    9    training of LLMs; and its supposed retention of books after their use for training. See id. at 19.

                   10    And within that piecemeal analytical framework, the Court placed great weight on whether

                   11    Anthropic “immediately” transformed the downloaded books and “immediately” discarded them.

                   12    Id. at 21. After breaking up Anthropic’s conduct into what it viewed as discrete steps, the Court

                   13    concluded that books downloaded from “pirated sources” and stored in a “central library” were not

                   14    fairly used in the course of LLM development. Id. at 24.

                   15           If the Court had instead adopted Anthropic’s argument that it should “look[] only at the

                   16    ‘ultimate use’” of the downloaded works—namely, developing the LLMs—then the outcome

                   17    would have likely been different. Id. at 22; cf. Kadrey Op. at 21. Anthropic’s framing accords with

                   18    Section 107’s text, which refers to “the purpose . . . of the use,” without directing courts to

                   19    deconstruct the defendant’s use into constituent steps. 17 U.S.C. § 107. Under that framing,

                   20    Anthropic’s actions were all interconnected, necessary elements in pursuit of the single purpose of

                   21    LLM development—which this Court recognized as “among the most transformative” uses “many

                   22    of us will see in our lifetimes.” Order at 30. Likewise, if only the ultimate use of the copyrighted

                   23    works (LLM development) is legally relevant, then it does not matter whether Anthropic

                   24    immediately used the books for training, whether it immediately discarded them thereafter, or

                   25    whether “every book” became part of the LLM training corpus. Id. at 19. Indeed, neither the Ninth

                   26    Circuit nor Supreme Court has considered promptness of a defendant’s use and deletion of

                   27    copyrighted work in this manner. See Sony Computer Ent., Inc. v. Connectix Corp., 203 F.3d 596,

                   28    598 (9th Cir. 2000) (finding fair use where the defendant “repeatedly copied Sony’s copyrighted
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                    1    [material] during a process of ‘reverse engineering,’” without asking whether the defendant

                    2    discarded the material). Thus, if the Court had viewed Anthropic’s ultimate purpose as dispositive,

                    3    then Anthropic likely would have prevailed on its fair use defense. 1

                    4           The Court’s emphasis on subsidiary steps (rather than ultimate use) also led it to focus on

                    5    Anthropic’s supposed creation of a “central library of texts,” which it compared to “any university

                    6    or corporate library.” Order at 20. In so doing, the Court misapplied the Second Circuit’s decision

                    7    in Texaco. There, the court found no fair use when a company library “circulated one copy” of a

                    8    journal issue and “invited all the [company] researchers to make their own photocopies” so that

                    9    they could have the articles “readily available [to read] in their own offices.” Texaco, 60 F.3d at

                   10    918-19. The court reasoned that the company’s photocopying was not “a transformative use of the

                   11    copyrighted material” because it did not “add[] something new, with a further purpose or different

                   12    character.” Id. at 923 (citation omitted). Here, in stark contrast, Anthropic acquired, stored, and

                   13    organized books not so that they could be used for their original purpose of being read, but rather

                   14    so that they could be used for the transformative purpose of developing LLMs. Importantly,

                   15    Anthropic is an AI company—not a library, or even a more general technology company that might

                   16    put the works to some other use. And nothing in the record supports the conclusion that any

                   17    Anthropic employee read a single one of the books at issue. Thus, unlike the company in Texaco,

                   18    Anthropic has no “research” objective that requires consuming the books as ordinary reading

                   19    material; it has only the transformative objective of developing LLMs. Id. at 924. Further, in

                   20    Texaco, the scientists had created no other “work of authorship,” id.—just a plainly non-

                   21    transformative photocopy of the original journal. In contrast, here, Anthropic directly employed

                   22    the books in a “further fair use,” Order at 21-22, to create a highly transformative work of its own—

                   23    Claude. If the Court had appropriately focused on Anthropic’s ultimate purpose in using the books,

                   24

                   25
                         1
                   26      To be sure, if Anthropic were to subsequently use retained works for purposes other than LLM
                         development activities—such as allowing its employees to “borrow” those works for reading—
                   27    then those separate uses would be subjected to their own fair use analysis. Cf. Order at 28 (noting
                         that if an LLM produced “an[] exact cop[y]” of a copyrighted work, that “would be a different
                   28    case” that Plaintiffs “remain free to bring . . . in the future should such facts develop”). But
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                         Anthropic’s only use of the downloaded works is for developing LLMs.
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                    1    it would not have separately analyzed Anthropic’s supposed “library” use at all. 2

                    2           Difference of opinion: A “substantial ground for difference of opinion” also exists as to the

                    3    proper resolution of the controlling legal question here. 28 U.S.C. § 1292(b). That requirement is

                    4    met “where novel and difficult questions of first impression are presented” or “where reasonable

                    5    jurists might disagree on an issue’s resolution.” Reese, 643 F.3d at 688 (cleaned up); see Sonos,

                    6    591 F. Supp. 3d at 649 (certifying question where “reasonable minds may differ” about the “ground

                    7    rules” for pleading “infringement”).

                    8           Jurists can reasonably disagree—and, indeed, have disagreed—over whether fair use in the

                    9    context of LLM training should be analyzed by reference to ultimate purpose or broken up into

                   10    subsidiary steps. In Kadrey, Judge Chhabria maintained that all of Meta’s copying of books from

                   11    the Internet must “be considered in light of its ultimate, highly transformative purpose: training [the

                   12    LLM].” Kadrey Op. at 21 (emphasis added). Because all relevant copies “had the ultimate purpose

                   13    of LLM training,” Judge Chhabria found them all to be protected by fair use doctrine, even if “only

                   14    some” were actually “used for [LLM] training.” Id. at 21-22. This reasoning cannot be reconciled

                   15    with this Court’s focus on subsidiary steps rather than “ultimate use.” Order at 22. Moreover, in

                   16    Judge Chhabria’s view, even copies made simply “to see whether the books in the database made

                   17    for good training data” were “a reasonable first step towards training an LLM.” Kadrey Op. at 22.

                   18    He further observed that “even if Meta did download some copies that weren’t ultimately used for

                   19    training, fair use doesn’t require that the secondary user make the lowest number of copies

                   20    possible.” Id. (citing Connectix). And he never considered whether Meta had retained copyrighted

                   21    books after using them for training. Judge Chhabria’s reasoning cannot be squared with this Court’s

                   22    concern that “[n]ot every copy [Anthropic made] was even necessary nor used for training

                   23    LLMs”—which undergirded its conception of a separate “central library” use. Order at 21-22.

                   24           Contrary to the Court’s suggestion, Order at 19-20, Andy Warhol Foundation for the Visual

                   25    Arts, Inc. v. Goldsmith, 598 U.S. 508 (2023), does not resolve the question in Plaintiffs’ favor. In

                   26
                         2
                            At the summary judgment hearing, this Court stated that it was “not sure Texaco is on point.”
                   27    MSJ Tr. at 67. The Court explained that whereas in Texaco, the relationship between the copied
                         journals and “some transformative future product . . . was so attenuated that you could not say that
                   28    that was fair use, [i]n our case there was a direct use of these products to create and train this
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                         artificial intelligence machine learning.” Id. Anthropic agrees with this statement.
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                    1    Warhol, the Supreme Court observed that “[t]he same copying may be fair when used for one

                    2    purpose but not another,” noting that the copyrighted photograph at issue “has been used in multiple

                    3    ways.” Id. at 533. But the original photograph in Warhol was copied to multiple distinct ends—

                    4    from creating an illustration, to creating 15 further works, to licensing one of those further works

                    5    to a magazine. Id. at 534. Here, the asserted uses—downloading books, storing the books data,

                    6    training the LLMs on the data, and retaining the data for future training—are all interconnected

                    7    steps. As noted, Anthropic is an AI company that develops and researches LLMs; it has no other

                    8    mission or product to which Plaintiffs’ books are plausibly relevant.

                    9           Ninth Circuit precedent likewise does not support Plaintiffs’ position. This Court relied on

                   10    Perfect 10, Inc. v. Amazon.com, Inc., 508 F.3d 1146 (9th Cir. 2007), and Kelly v. Arriba Soft Corp.,

                   11    336 F.3d 811 (9th Cir. 2003), but those cases found fair use, emphasizing that—as here—the

                   12    defendant search engines put the plaintiff’s “thumbnail images” to a “significant transformative

                   13    use.” Perfect 10, 508 F.3d at 1168; see also Kelly, 336 F.3d at 819. The Ninth Circuit did not ask

                   14    whether the images were “deployed immediately” or “immediately deleted.” Order at 21. Nor did

                   15    it suggest that the defendants’ uses were unfair simply because they had “download[ed]” the

                   16    plaintiffs’ images onto a “server” and stored them in a “database” before using them. Kelly, 336

                   17    F.3d at 815. And in Connectix, the court found fair use while deeming it irrelevant that the

                   18    defendant may have “ma[d]e more intermediate copies” than “necessary” and “repeatedly copied”

                   19    material to “find out how the Sony PlayStation worked.” 203 F.3d at 598, 605. This Court, in

                   20    contrast, found it significant that “[n]ot every copy was even necessary” to train LLMs, Order at

                   21    22—without considering how Anthropic could have known which book datasets were useful for

                   22    training without assessing them to “find out,” just as the defendant did in Connectix. 203 F.3d at

                   23    598.

                   24           The “novel and difficult” legal issue here will recur in the many pending copyright

                   25    challenges to generative AI tools. Reese, 643 F.3d at 688; see supra at 3 (listing cases). As this

                   26    Court recognized, LLM development involves multiple steps, including cleaning the data,

                   27    translating it into a tokenized copy, and uncovering “contingent statistical relationships” through

                   28    an “iterative” process. Order at 6. A copyrighted work therefore cannot be “immediately” used to
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                    1    train an LLM, in part because it takes time to amass and assess the amount of diverse data required

                    2    to train a model. Additionally, because techniques for processing data are quickly improving, LLM

                    3    developers may store raw data for further processing as advanced techniques develop, as well as to

                    4    run experiments comparing old and new methods to determine which results in a more capable

                    5    LLM. And both before and after training, data must be stored and organized in some location. In

                    6    addition, defendants who immediately deleted training data would run the risk of spoliation

                    7    accusations by potential plaintiffs. In other words, in all copyright challenges to generative AI

                    8    tools, plaintiffs could seek to parse the process of LLM training into constituent steps and argue a

                    9    lack of “immediate” use. The acceptance or rejection of such arguments could well shape the

                   10    outcome in this entire line of industry-defining cases.

                   11           Materially advance the litigation: Finally, an interlocutory appeal will “materially advance

                   12    the ultimate termination of the litigation” by providing guidance on the proper approach to fair use.

                   13    See 28 U.S.C. § 1292(b). This factor does not insist on “a final, dispositive effect on the litigation,”

                   14    so long as an appeal could move the ball forward toward resolution. Reese, 643 F.3d at 688. If the

                   15    Ninth Circuit were to adopt Anthropic’s view that the ultimate purpose of developing the LLM is

                   16    what matters, then it would be legally irrelevant whether Anthropic took the supposed initial step

                   17    of assembling a “central library” of data or the later step of retaining copies that may later be needed

                   18    for further training. In that circumstance, summary judgment should be granted for Anthropic in

                   19    full, averting the need for a trial. And where “a different outcome in the court of appeals would

                   20    end the litigation,” an interlocutory appeal will plainly “advance the ultimate termination of the

                   21    litigation.” Estate of Amaro v. City of Oakland, No. C 09-01019, 2010 WL 669240, at *15 (N.D.

                   22    Cal. Feb. 23, 2010) (Alsup, J.) (emphasis added). Moreover, even if the Ninth Circuit were to adopt

                   23    a position other than Anthropic’s, it would provide helpful guidance on the proper fair-use standard

                   24    and minimize the chance that any trial will have to be redone, thus “materially advanc[ing] the

                   25    ultimate termination of the litigation.” 28 U.S.C. § 1292(b).

                   26

                   27

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                    1           B.      Interlocutory Review Is Warranted to Determine Whether a Defendant’s
                                        Acquisition of a Copyrighted Work From an Unauthorized Source Counsels
                    2                   Strongly Against Fair Use, Even if the Defendant’s Ultimate Use of that Work
                                        Is Transformative
                    3

                    4           The Court’s Order raises a second controlling legal question that also warrants immediate

                    5    review: whether a defendant’s initial acquisition of a copyrighted work from a third party who

                    6    distributed the work without permission counsels strongly against fair use—even if the defendant’s

                    7    ultimate use of that work is transformative. This Court and Judge Chhabria offered divergent

                    8    approaches to that issue, and its resolution will materially affect the disposition of this and the many

                    9    similar pending cases.

                   10           Controlling question of law: This Court’s Order presents a “question of law” about how a

                   11    defendant’s initial acquisition of a copyrighted work from an unauthorized source affects the fair

                   12    use analysis. 28 U.S.C. § 1292(b). Section 107 of the Copyright Act references neither the means

                   13    of acquisition nor the source of the copyrighted work as relevant fair-use factors. See 17 U.S.C.

                   14    § 107. And the Ninth Circuit has found fair use even when the defendant copied images from

                   15    websites that had themselves distributed those images “without authorization.” Perfect 10, 508

                   16    F.3d at 1157. Nonetheless, the Court “doubts that any accused infringer could ever meet its burden

                   17    of explaining why downloading source copies from pirate sites” was “reasonably necessary to any

                   18    subsequent fair use.” Order at 18. Thus, the Court’s analysis raises the legal question of what

                   19    effect making an initial copy from an unauthorized source—here, the so-called “pirate libraries,”

                   20    Order at 3— has on the fair use analysis.

                   21           This legal question is “controlling” because it “could materially affect the outcome of the

                   22    litigation.” In re Cement Antitrust Litig., 673 F.2d at 1026. Although the Court stated that it “need

                   23    not decide this case on th[e] rule” that an initial acquisition of copyrighted work from an

                   24    unauthorized source is “inherently” infringing, that “rule” will weigh heavily on further

                   25    proceedings in this case. Order at 18-19. Indeed, if the Court ultimately adopts that rule, then

                   26    Anthropic’s fair use defense could fail even if Anthropic disproves the notion of a “general-purpose

                   27    library” (as it believes it will upon more fulsome development of an evidentiary record). Id. at 30.

                   28    That prospect suffices to make the legal issue “controlling.” 28 U.S.C. § 1292(b); see Kuehner, 84
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                    1    F.3d at 319 (issue can be controlling even if it will not necessarily “determine[] who will win on

                    2    the merits”).

                    3           Difference of opinion: Reasonable jurists may disagree—and, indeed, have disagreed—

                    4    about the significance of initial acquisitions of copyrighted work from third-party sources that

                    5    distributed the work without permission. Two days after this Court’s ruling, Judge Chhabria

                    6    granted summary judgment to Meta on the plaintiffs’ infringement claim despite “the fact that Meta

                    7    downloaded the [plaintiffs’] books from shadow libraries and did not start with an ‘authorized copy’

                    8    of each book.” Kadrey Op. at 19. Judge Chhabria explained that “[t]o say that Meta’s downloading

                    9    was ‘piracy’ and thus cannot be fair use begs the question because the whole point of fair use

                   10    analysis is to determine whether a given act of copying was unlawful.” Id. And he noted that the

                   11    plaintiffs there—like Plaintiffs here—“ha[d] not submitted any evidence” suggesting that “Meta’s

                   12    act of downloading propped up these libraries or perpetuated their unlawful activities.” Id. at 21.

                   13    Judge Chhabria’s reasoning conflicts with this Court’s suggestion that a defendant may not be able

                   14    to prove fair use after “downloading source copies from pirate sites.” Order at 18. 3

                   15           Notably, this disagreement about the significance of unauthorized acquisition in the fair use

                   16    analysis closely tracks related precedent addressing what role, if any, bad faith plays in the fair use

                   17    framework. In both Campbell v. Acuff-Rose Music, Inc., 510 U.S. 569 (1994), and Google, the

                   18    Supreme Court “expressed some skepticism about whether bad faith has any role in a fair use

                   19    analysis,” reasoning that “[c]opyright is not a privilege reserved for the well-behaved.” Google,

                   20    593 U.S. at 32 (citation omitted); see also Campbell, 510 U.S. at 585 n.18. Most recently, in

                   21    Warhol, the Court cast further doubt on the relevance of bad faith by “h[olding] squarely that it is

                   22    not the ‘subjective intent’ of a copyist that counts, but the ‘objective . . . use’ of the copy.” Order

                   23    at 20 n.5 (quoting Warhol, 598 U.S. at 544-45). Thus, this Court correctly observed that the Ninth

                   24    Circuit “has not yet reappraised how bad faith (or good faith) figures in fair use after Warhol” and

                   25
                         3
                   26      This Court also observed that “[t]here is no decision holding or requiring that pirating a book that
                         could have been bought at a bookstore was reasonably necessary to writing a book review.” Order
                   27    at 18-19. Here, however, as the Court itself noted, “the volume of text required to train an LLM is
                         monumental,” id. at 26—and no market currently exists for that quantity of digital books.
                   28    Moreover, writing a book review does not require making a full copy of the book, whereas it is
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                         undisputed that LLM development necessarily does.
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                    1    Google, Order at 20-22 & n.5, while Judge Chhabria likewise noted that “[t]he law is in flux about

                    2    whether bad faith is relevant to fair use,” Kadrey Op. at 19.

                    3           This issue of initial copying from an unauthorized source—whether or not viewed through

                    4    the lens of bad faith—carries significant implications for the many pending copyright cases

                    5    involving generative AI technology, as well as for copyright law more broadly. The entire premise

                    6    of these cases is that technology companies trained their LLMs on copyrighted content absent the

                    7    rightsholders’ authorization. The fair use analysis should focus on the copies made by Anthropic,

                    8    not copies made by third parties over whom Anthropic had no control. Whether the rightsholders

                    9    authorized an unrelated third party to make a predicate “pirate” copy of the works should not taint

                   10    the defendant’s subsequent transformative use. Nor is it enough to say that the defendant’s copying

                   11    was unauthorized because that is an inherent feature of a fair use inquiry. If a contrary position

                   12    were widely adopted, then LLM training by any company that downloaded works from third-party

                   13    websites like LibGen or Books3 could constitute copyright infringement—even though, as this

                   14    Court correctly recognized, LLM training is “exceedingly transformative.” Order at 9.

                   15           Materially advance the litigation: Resolving this legal issue now “may materially advance

                   16    the ultimate termination of the litigation.” 28 U.S.C. § 1292(b). If Anthropic is correct that initial

                   17    unauthorized downloading of books from third-party websites should not preclude its fair use

                   18    defense (as Judge Chhabria held)—and in fact, should play little if any role in the analysis—then

                   19    judgment will likely be warranted for Anthropic given its highly transformative use of those works

                   20    to train its LLMs. That result would avert a trial that may be unnecessary or that will have to be

                   21    redone under the correct legal standard. The Court and the parties should obtain Ninth Circuit

                   22    guidance before a trial moves forward.

                   23    IV.    ALTERNATIVELY, THE COURT SHOULD PERMIT ANTHROPIC TO SEEK
                                RECONSIDERATION OF THE ORDER
                   24

                   25           Alternatively, the Court should grant Anthropic leave to move for reconsideration of the

                   26    Order. Anthropic has shown the requisite diligence by filing this motion only 21 days after this

                   27    Court’s Order and 19 days after Judge Chhabria’s order in Kadrey. See Civil L.R. 7-9(b). It also

                   28    meets the substantive requirements for reconsideration. See id. 7-9(b)(2)-(3). The Order failed to
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                    1    consider the material fact that the record does not support (nor did Plaintiffs argue) that Anthropic

                    2    downloaded books to create a “general-purpose library” separate from LLM development. And

                    3    the Order necessarily could not have considered the subsequently issued Kadrey opinion.

                    4    Accordingly, leave to seek reconsideration is warranted.

                    5           A.      The Order Manifestly Failed to Consider the Absence of Record Evidence that
                                        Anthropic Downloaded Books to Create a General-Purpose Library Unrelated
                    6                   to LLM Training
                    7           The Order “manifest[ly] fail[ed]” to “consider material facts,” L.R. 7.9(b)(3), showing that

                    8    the record does not support the Court’s conclusion that Anthropic downloaded and retained books

                    9    to create a “general-purpose library of works for various uses for which the company might have

                   10    of them,” Order at 30. Instead—and as Plaintiffs have acknowledged, see MSJ Opp. at 1—the

                   11    record allows only one inference: that Anthropic downloaded and retained books to develop LLMs.

                   12    In particular, it is a matter of undisputed fact that when Anthropic first started developing LLMs in

                   13    2021, it obtained datasets composed of books from the Internet “as there were no other sources of

                   14    books datasets available that were suitable to train LLMs.” Kaplan Decl. ¶ 48 (emphasis added).

                   15    It is further undisputed that “datasets of books” then became “part of [Anthropic’s] training corpus

                   16    for its LLMs.” Id. ¶ 47. And it is still further undisputed that “the collection of a massive amount

                   17    of data”—including the books downloaded from the Internet—is a critical first step in “[t]he

                   18    iterative, multi-step LLM training process.” Id. ¶ 38.

                   19           Specifically, once data is collected, it must be “assembled into the training corpus” and

                   20    “processed” prior to training. Id. ¶ 54. Among other things, the data must be “filter[ed]” to

                   21    eliminate “low-quality” and “toxic” content and “to ensure the model aligns with human ethical

                   22    standards.” ECF No. 122-33 (MSJ Ex. 32) at 8. The data must also be converted into computer

                   23    code called “tokens” and then further converted into “‘vectors,’ which are mathematical

                   24    representations of how words relate to other words.” Kaplan Decl. ¶¶ 55-56. Only at that point

                   25    can LLM training begin—and such training involves “on the order of a million billion billion

                   26    repeated mathematical calculations,” through which “the model adjusts the weights based on the

                   27    vector inputs . . . as it learns more about how humans use words and concepts in writing.” Id. ¶ 56.

                   28    Again, all of these facts were undisputed. Accordingly, the record establishes, as a matter of
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                    1    undisputed fact, that Anthropic acquired and stored books for the sole purpose of developing LLMs.

                    2           This Court nonetheless hinged its Order on what it found to be a potential conclusion

                    3    viewing the evidence in the light most favorable to Plaintiffs: that Anthropic acquired and stored

                    4    books to “[c]reat[e] a permanent, general-purpose library,” separate from the purpose of LLM

                    5    training. Order at 9. In so doing, the Court failed to address all of the undisputed facts discussed

                    6    above and instead relied principally on incomplete portions of deposition testimony from Anthropic

                    7    Vice President Tom Turvey. Id. at 3-5. As an initial matter, the portions of Turvey’s testimony

                    8    that this Court quoted addressed only the books that Anthropic purchased and scanned—not the

                    9    ones at issue here that Anthropic downloaded from the Internet. MSJ Opp. Ex. 22, at 145-146 (“We

                   10    were purchasing books . . . for the purpose of data acquisition that would help inform our . . .

                   11    products.”) (emphasis added). In fact, Turvey did not join Anthropic until 2024, and he initiated

                   12    the book scanning project years after Anthropic had downloaded the books datasets from Internet

                   13    sources in 2021 and 2022—so he had no firsthand knowledge of Anthropic’s acquisitions from

                   14    those sources. See ECF No. 123-2 (“Turvey Decl.”) ¶ 13. Therefore, none of Turvey’s statements

                   15    about his purposes in acquiring used books in 2024 have any bearing on Anthropic’s purpose in

                   16    downloading books from the Internet years earlier.

                   17           Moreover, the complete transcript of Turvey’s testimony provides important context for his

                   18    assertions. For instance, Turvey explained that when he referred to a “research library” and “use

                   19    for research,” he was not discussing a research purpose separate from LLM training. MSJ Opp.

                   20    Ex. 22, at 145. Specifically, when asked what he meant by those phrases, Turvey said: “Research

                   21    that we would conduct when we were building our LLM.” Id. at 145 (emphasis added). And when

                   22    asked whether “building a research library” was “one and the same” as “train[ing] LLMs,” Turvey

                   23    responded: “Yes.” Id. at 145-146 (emphasis added). The complete record will not support a

                   24    conclusion that there was a separate “general-purpose library.”

                   25           The Court also relied on an exhibit to Plaintiffs’ class certification motion—not the

                   26    summary judgment record—for its “general-purpose library” theory. Order at 5. But the quoted

                   27    document is from 2024—well after Anthropic’s 2021-2022 acquisition of books datasets from

                   28    Internet sites—and thus addresses only Anthropic’s efforts to purchase and scan books into digital
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                    1    form. See ECF No. 121-8 (“Pls. CC Ex. 12”) at 144507 (listing date as 7/17/24); id. at 144508

                    2    (listing date as 5/23/24). Indeed, the quoted document expressly refers to “purchas[ing]” and

                    3    “scanning” “the books.” Id. at 144508; see id. at 144509 (referring to “scanning costs”). In short,

                    4    the document has nothing to do with the only works relevant to this Motion—those downloaded

                    5    from Internet sites years earlier.

                    6            The Court also quoted a statement that Anthropic planned to “store everything forever”

                    7    because there was “no compelling reason to delete a book.” Order at 5. But that statement directly

                    8    followed a statement that “these books’ data would be used across all models”—that is, all LLMs—

                    9    and supports the proposition that the future storage was only for the purpose of LLM training. Pls.

                   10    CC Ex. 12 at 144509. Similarly, the Court quoted the phrase “general purpose” from that

                   11    document, Order at 5, but “general purpose” was used in the document to modify the word “model,”

                   12    not “library,” Pls. CC Ex. 12 at 144509. In fact, the quoted document never used the term “library”

                   13    at all. See id.

                   14            These issues regarding the interpretation of the evidence are particularly significant because

                   15    the Court did not have the benefit of briefing on a “general-purpose library” theory. Plaintiffs never

                   16    asserted such a theory; to the contrary, they consistently referred to the relevant “use” as “[u]sing

                   17    books to train LLMs.” MSJ Opp. at 15; see, e.g., id. (arguing that “the infringing copies are the

                   18    numerous copies of Plaintiffs’ books Anthropic made to train its LLMs”). Among other things,

                   19    Plaintiffs asserted that Anthropic downloaded books to “fuel its commercial mission” of “train[ing]

                   20    thousands—possibly millions—of LLMs.” Id. at 14-15. Plaintiffs also emphasized that Anthropic

                   21    “used each of Plaintiffs’ works to train a commercially released Claude model.” Id. at 15 n.8.

                   22    Nothing in Plaintiffs’ briefing asserts that Anthropic used the downloaded books for a supposed

                   23    “general-purpose library.” Order at 30. Because Plaintiffs never raised a general-purpose library

                   24    theory, Anthropic never had a chance to rebut that idea. This Court should grant Anthropic leave

                   25    to move for reconsideration so that it can now have that opportunity. See Blair v. Rent-A-Center,

                   26    Inc., No. C 17-02335, 2019 WL 529292, at *3 (N.D. Cal. Feb. 11, 2019) (Alsup, J.) (granting

                   27    reconsideration where a factual “subtlety went unnoticed” in the Court’s prior order).

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                    1           B.      The Kadrey Decision Constitutes an Intervening Change of Law

                    2           The Court may grant leave to move for reconsideration based on the “emergence of . . . a

                    3    change of law occurring after the time of [its] order.” Civil L.R. 7-9(b)(2). In a “rapidly changing

                    4    area of the law,” reconsideration may be warranted even in the wake of merely persuasive

                    5    “developing case authority.” Doe By & Through Doe v. Petaluma City Sch. Dist., 949 F. Supp.

                    6    1415, 1417 (N.D. Cal. 1996); see, e.g., J.B. v. G6 Hospitality, LLC, No. 19-cv-07848, 2021 WL

                    7    4079207, at *4 (N.D. Cal. Sept. 8, 2021) (reconsidering prior order because of two intervening

                    8    district court opinions reaching a contrary conclusion on an unsettled question under Section 230

                    9    of the Communication Decency Act). This case plainly arises in a rapidly changing area of the law.

                   10    Thus, the Court may regard the conflicting decision in Kadrey as an applicable change in law, even

                   11    though that decision is not controlling authority, and grant leave for Anthropic to move for

                   12    reconsideration on that basis.

                   13    V.     CONCLUSION

                   14           Based on the foregoing, Anthropic respectfully requests that the Court certify its Order for

                   15    interlocutory appeal. Alternatively, Anthropic respectfully requests that the Court grant leave for

                   16    Anthropic to move for reconsideration of the Court’s Order.

                   17
                         Dated: July 14, 2025                               COOLEY LLP
                   18

                   19
                                                                            By: /s/ Kathleen R. Hartnett
                   20                                                           Kathleen R. Hartnett
                   21                                                       Attorneys for Defendant
                                                                            Anthropic PBC
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                    1                                   CERTIFICATE OF SERVICE

                    2           I, Kathleen Hartnett, am the ECF user whose identification and password are being used to

                    3    file the foregoing Defendant Anthropic PBC’s Motion for an Order Permitting Interlocutory Appeal

                    4    Pursuant to 28 U.S.C. § 1292(b) or, in the Alternative, Motion for Leave to File Motion for

                    5    Reconsideration.

                    6    Dated: July 14, 2025
                    7                                                     By: /s/ Kathleen R. Hartnett
                                                                              Kathleen R. Hartnett
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